          Case 1:20-cv-03010-APM Document 326-3 Filed 03/21/22 Page 1 of 8




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA




 UNITED STATES OF AMERICA, et al.,

                                  Plaintiffs,            Case No. 1:20-cv-03010-APM

 v.                                                      HON. AMIT P. MEHTA
 GOOGLE LLC,

                                  Defendant.




                         DECLARATION OF MEAGAN K. BELLSHAW

I, Meagan K. Bellshaw, declare as follows:

1. I am a Trial Attorney with the Antitrust Division of the United States Department of Justice

      (Antitrust Division), counsel to Plaintiff United States of America.

2. I submit this declaration in support of Plaintiffs’ Motion to Sanction Google and Compel

      Disclosure of Documents Unjustifiably Claimed by Google as Attorney-Client Privileged

      (Motion). I have personal knowledge of the facts set forth in this declaration, and, if called to

      testify, could and would do so under oath.

3. Attached hereto are true and correct copies of the following documents produced by Google

      LLC (Google) in this matter:

         a. Exhibit 1 consists of a slide deck titled “Apps Noogler Orientation Q4 2015,” dated

             October 8, 2015, and bearing the Bates stamp, GOOG-DOJ-06890329.




                                                    1
Case 1:20-cv-03010-APM Document 326-3 Filed 03/21/22 Page 2 of 8




b. Exhibit 3 consists of a slide deck titled “Android Mobile Search & Assistant

   Revenue Share Agreement Training,” dated December 7, 2016, and bearing the Bates

   stamp, GOOG-DOJ-10619658.

c. Exhibit 5 consists of a slide deck titled “Google Distribution on Android

   Framework,” dated September 5, 2019, and bearing the Bates stamp, GOOG-DOJ-

   21790045.

d. Exhibit 6 consists of a four-page email thread from Christopher Li to Jim Kolotouros,

   dated July 22, 2019, and bearing the Bates stamp GOOG-DOJ-28350269. Google

   produced a deprivileged version on August 18, 2021.

e. Exhibit 7 consists of a two-page email thread from Christopher Li to Jinyoung Baik

   and Ethan-Young Chang, dated July 16, 2019, and bearing the Bates stamp GOOG-

   DOJ-27771584. Google produced a deprivileged version on August 18, 2021.

f. Exhibit 9 consists of a three-page email thread from Christopher Li to Jim

   Kolotouros, dated July 22, 2019, and bearing the Bates stamp GOOG-DOJ-28350262.

   Google produced a deprivileged version on August 18, 2021.

g. Exhibit 10 consists of a four-page email thread from Jim Kolotouros to Christopher

   Li, dated July 22, 2019, and bearing the Bates stamp GOOG-DOJ-28350265. Google

   produced a deprivileged version on August 18, 2021.

h. Exhibit 11 consists of a seven-page email thread from Paul Gennai to Jamie

   Rosenberg, dated June 14, 2017, and bearing the Bates stamp GOOG-DOJ-26758239.

   Google produced a deprivileged version on August 5, 2021.




                                        2
Case 1:20-cv-03010-APM Document 326-3 Filed 03/21/22 Page 3 of 8




i. Exhibit 12 consists of a two-page email thread from Sundar Pichai to Susan

   Wojcicki, dated January 26, 2018, and bearing the Bates stamp GOOG-DOJ-

   28509324. Google produced a deprivileged version on August 18, 2021.

j. Exhibit 13 consists of a three-page email thread from Christopher Li to Sagar

   Kamdar, dated April 29, 2020, and bearing the Bates stamp, GOOG-DOJ-18636836.

   Google produced a deprivileged version on September 1, 2021.

k. Exhibit 14 consists of a three-page email thread from Kristina Anderson to Chris

   Gklaros-Stavropoulos, dated September 6, 2018, and bearing the Bates stamp GOOG-

   DOJ-24020181.

l. Exhibit 15 consists of a six-page email thread from            to Sagar Kamdar,

   dated March 21, 2018, and bearing the Bates stamp, GOOG-DOJ-09059783. Google

   produced a deprivileged version on September 1, 2021.

m. Exhibit 16 consists of a five-page email thread from Paul Gennai to                ,

   dated May 23, 2019, and bearing the Bates stamp GOOG-DOJ-28416766. Google

   produced a deprivileged version on August 18, 2021.

n. Exhibit 17 consists of a two-page email thread from                   to Jongyeong,

   dated March 13, 2015, and bearing the Bates stamp, GOOG-DOJ-21646392.

o. Exhibit 18 consists of a four-page email thread from Sri Reddy to various

   individuals, dated February 26, 2020, and bearing the Bates stamp, GOOG-DOJ-

   18895045.

p. Exhibit 19 consists of a two-page email thread from              to

               , dated November 19, 2017, and bearing the Bates stamp, GOOG-DOJ-

   09750925.



                                       3
Case 1:20-cv-03010-APM Document 326-3 Filed 03/21/22 Page 4 of 8




q. Exhibit 20 consists of a five-page email thread from Arvind Kumar to Joshua Cruz,

   dated July 30, 2019, and bearing the Bates stamp GOOG-DOJ-23945666. Google

   produced a deprivileged version on January 11, 2022.

r. Exhibit 21 consists of a five-page email thread from Evgeny Shvyryaev to

             , dated December 19, 2019, and bearing the Bates stamp GOOG-DOJ-

   12864417.

s. Exhibit 22 consists of a nine-page email thread from Anna Kartasheva to Liza Ma,

   dated May 7, 2020, and bearing the Bates stamp GOOG-DOJ-21815059.

t. Exhibit 23 consists of a two-page email thread from David Rolefson to Dave Burke

   and Tim Taylor, dated February 26, 2016, and bearing the Bates stamp GOOG-DOJ-

   06399233. Google produced a deprivileged version on January 11, 2022.

u. Exhibit 24 consists of a one-page email from Prabhakar Raghavan to Jerry Dischler

   and Nick Fox, dated April 3, 2020, and bearing the Bates stamp, GOOG-DOJ-

   20830033.

v. Exhibit 25 consists of a one-page email thread from Philip Schindler to Jason Spero,

   dated November 3, 2020, and bearing the Bates stamp, GOOG-DOJ-21476426.

w. Exhibit 26 consists of a six-page email thread from Jasmin Herrera to Philipp

   Schindler, dated July 5, 2021, and bearing the Bates stamp GOOG-DOJ-30899052.

x. Exhibit 27 consists of a five-page email thread from Yuki Richardson to

         , dated May 26, 2019, and bearing the Bates stamp, GOOG-DOJ-21672259.

   Google produced a deprivileged version on January 11, 2022.




                                       4
       Case 1:20-cv-03010-APM Document 326-3 Filed 03/21/22 Page 5 of 8




       y. Exhibit 28 consists of a four-page email thread from Jamie Rosenberg to Adrienne

           McCallister, dated October 30, 2020, and bearing the Bates stamp, GOOG-DOJ-

           21129755.

       z. Exhibit 29 consists of a seven-page email thread from Christian Veer to Jon Gold,

           Jamie Rosenberg, Paul Gennai, and various individuals, dated September 7, 2016, and

           bearing the Bates stamp GOOG-DOJ-24380202.

       aa. Exhibit 30 is a slide deck titled “Android Mobile Search & Assistant Revenue Share

           Agreement Training,” dated October 6, 2021, and bearing the Bates stamp GOOG-

           DOJ-29824601.

       bb. Exhibit 31 consists of a five-page email thread from Jasmin Herrera to Pooja Kapoor,

           dated July 5, 2021, and bearing the Bates stamp GOOG-DOJ-30900278.

       cc. Exhibit 32 consists of a two-page email thread from                     to

                  , dated March 27, 2019, and bearing the Bates stamp, GOOG-DOJ-07801741.

       dd. Exhibit 33 consists of a four-page email thread from Kirsten Rasanen to Andrei

           Popescu, dated April 30, 2020, and bearing the Bates stamp, GOOG-DOJ-18636847.

4. Attached hereto are true and correct copies of the following additional exhibits:

       a. Exhibit 2 consists of pages 1, 279, 280, and 281, from the deposition transcript of

           Google’s Senior Vice President Prabhakar Raghavan, taken in this matter on

           December 14, 2021. Yellow highlights have been added by Plaintiff. The full

           deposition transcript is available at the Court’s request.

       b. Exhibit 8 consists of excerpted privilege log entries from the sheet “Privilege Log”

           (sheet 1) of Google’s privilege log titled “(Group A) CID No 20120 – Alphabet Inc.

           Privilege Log Vol. 1 – HIGHLY CONFIDENTIAL,” dated October 2, 2020: GGPL-



                                                 5
Case 1:20-cv-03010-APM Document 326-3 Filed 03/21/22 Page 6 of 8




   1081174382 (row 35668), GGPL-1061538812 (row 94122), GGPL-1081901607 (row

   103069), GGPL-1081901608 (row 103070), GGPL-1081901687 (row 103071), and

   GGPL-2060441155 (row 103267). The full privilege log is available at the Court’s

   request.

c. Exhibit 34 consists of an excerpted privilege log entry from the sheet “Priv Log 7”

   (sheet 1) in Google’s privilege log titled “Privilege Log Vol. 7 – Confidential,” dated

   September 30, 2021: GGPL-1060262406 (row 26). The full privilege log is available

   at the Court’s request.

d. Exhibit 4 consists of the excerpted names of in-house attorneys from the sheet

   “Names List” (sheet 2) in Google’s privilege log titled “(Group A) CID No 20120 –

   Alphabet Inc. Privilege Log Vol. 1 – HIGHLY CONFIDENTIAL,” date October 2,

   2020: Matthew Bye, ESQ, Director of Competition (row 1882), Kate Lee, ESQ,

   Director of Android and Play Business Legal (row 8360), Tristan Ostrowski, ESQ,

   Android & Play Product Legal Director (row 11169), Helen Tsao, ESQ, Senior

   Corporate Counsel (row 15139), and Kent Walker, ESQ, Senior Vice President of

   Global Affairs & Chief Legal Officer (row 15685). The full privilege log and Names

   List are available at the Court’s request.

e. Exhibit 35 consists of a letter from my colleague Lauren Willard of the Antitrust

   Division to Franklin Rubinstein of Wilson Sonsini Goodrich & Rosati, dated June 4,

   2021. The attachments referenced in the exhibit are available at the Court’s request.

f. Exhibit 36 consists of a letter from my colleague Lauren Willard of the Antitrust

   Division to Franklin Rubinstein of Wilson Sonsini Goodrich & Rosati, dated

   November 15, 2021. The attachments referenced in the exhibits are available at the



                                         6
       Case 1:20-cv-03010-APM Document 326-3 Filed 03/21/22 Page 7 of 8




           Court’s request. In response to Ms. Willard’s letter, Google produced an unredacted

           copy of an email chain Bates stamped GOOG-DOJ-21129755 on January 13, 2022.

           At the time of production, all three Google deponents listed as custodians of the email

           had been deposed: Jamie Rosenberg (December 13-14, 2021), Adrienne McCallister

           (December 13, 2021), and Yuki Richardson (December 15, 2021).

       g. Exhibit 37 consists of a letter from my colleague Lauren Willard of the Antitrust

           Division to Franklin Rubinstein of Wilson Sonsini Goodrich & Rosati, dated January

           25, 2022. The attachments referenced in the exhibit are available at the Court’s

           request.

5. The Antitrust Division issued its initial Civil Investigative Demand to Google on August 30,

   2019 (CID No. 30092).

6. On August 11, 2021, my colleague Lauren Willard of the Antitrust Division sent Franklin

   Rubinstein of Wilson Sonsini Goodrich & Rosati and several other outside counsel an email

   asking Google to produce an index that lists all the Bates numbers and associated privilege

   log identifier of files produced in response to Plaintiffs’ privilege challenges. Google has not

   produced the requested index.

7. On March 8, 2022, I ran a search across documents produced to Plaintiff by Google for the

   first names of five Google attorneys (Matthew Bye, Helen Tsao, Kate Lee, Tristan

   Ostrowski, and Kent Walker) within five words of the generic phrases “please advise” or “pls

   advise” or “for advice” or “for legal advice” or “for any legal advice” or “guidance” or

   “seeks advice of counsel”, which produced 9,329 documents.




                                                7
        Case 1:20-cv-03010-APM Document 326-3 Filed 03/21/22 Page 8 of 8




8. On March 8, 2022, I ran a search across documents produced to Plaintiff by Google for files

   where the metadata field “Privilege Re-Review” is set by Google to “Yes,” which produced

   48,466 documents.

   I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.

   Executed on the 8th Day of March, 2022, in Washington, D.C.



                                             /s/ Meagan K. Bellshaw
                                             Meagan K. Bellshaw




                                                8
